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This order is SIGNED.


Dated: October 11, 2018
                                                      JOEL T. MARKER
                                                    U.S. Bankruptcy Judge



   Lon A. Jenkins (4060)
   Tami Gadd-Willardson (12517)
   MaryAnn Bride (13146)
   Katherine T. Kang (14457)
   OFFICE OF THE CHAPTER 13 TRUSTEE
   405 South Main Street, Suite 600
   Salt Lake City, Utah 84111
   Telephone: (801) 596-2884
   Facsimile: (801) 596-2898
   Email: utahtrusteemail@ch13ut.org

                              UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


   IN RE:                                             CASE NO: 15-22936
   QUINN BRUCE ERICKSON
   KESTIN ERICKSON                                    Chapter 13

                           Debtors                    Hon. JOEL T. MARKER
                                  ORDER ON TRUSTEE'S OBJECTION TO
                                   CLAIM NO. 11 OF Cavalry SPV I, LLC


           The Trustee filed an objection to Claim No. 11 (hereinafter the "Claim") of Cavalry SPV I, LLC
   (hereinafter the “Creditor”). The Trustee served the Creditor with a Notice of Hearing on the claim objection.
   There being no timely response to the Trustee's objection, and for other good cause appearing, it is hereby:
           ORDERED that the Creditor's Claim is reduced to 0.00, the Trustee shall not make any further
   disbursements on such claim, and the Trustee may remove any funds held in reserve on this claim and disburse
   such released funds pursuant to the plan.


                                                   END OF DOCUMENT
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                                 DESIGNATION OF PARTIES TO BE SERVED

By Electronic Services: I certify that the parties of record in this case as identified below, are registered
CM/ECF users and will be served notice of entry of the foregoing Order through the CM/ECF system:


LON A. JENKINS, ECF NOTIFICATION

LINDA D. SMITH, ESQ., ECF NOTIFICATION

By U.S. Mail - In addition to the parties of record receiving notice through the CM/ECF system, the
following parties should be served notice pursuant to Fed R. Civ. P. 5(b).

QUINN BRUCE ERICKSON & KESTIN ERICKSON, 584 E. 2200 S.,CLEARFIELD, UT 84015


Cavalry SPV I, LLC, c/o Bass & Associates, P .C., 3936 E. Ft. Lowell Suite 200, Tucson, AZ 85712




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